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 2      Including Professional Corporations
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 5
   Attorneys for Defendant
 6 JOHN BREWER
 7
 8                           UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                 Case No. 2:16-CR-0239 MCE
12                      Plaintiff,
                                             ORDER GRANTING UNOPPOSED EX
13           v.                              PARTE APPLICATION FOR
                                             LIMITED DISCLOSURE OF
14 JOHN BREWER,                              PRESENTENCE INVESTIGATION
   BRENT VINCH, and                          REPORT TO CALIFORNIA
15 LORAINE DIXON                             ATTORNEY GENERAL
16                      Defendants.          [Local Rule 460(b)]
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     SMRH:485758041.2                  ORDER GRANTING EX PARTE APPLICATION FOR LIMITED
                                                            DISCLOSURE OF PIR TO CA AG
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 1                                                 ORDER
 2           The Court, having considered the papers filed in support of Defendant John
 3 Brewer’s (“Defendant”) unopposed Ex Parte Application for Limited Disclosure of
 4 Presentence Investigation Report to the California Attorney General (the “Application”),
 5 HEREBY ORDERS that the Application is GRANTED as follows:
 6           1.         Defendant is authorized to disclose the relevant portions of the Presentence
 7 Investigation Report, as identified in the Application, to counsel for the California
 8 Attorney General for use in settlement discussions with Defendant in connection with a
 9 parallel civil enforcement action.
10           2.         No other disclosure of the Presentence Investigation Report is authorized,
11 and the parties and counsel for the California Attorney General shall otherwise preserve
12 the strict confidentiality of the information in the Presentence Investigation Report in
13 accordance with Local Rule 460(a).
14           IT IS SO ORDERED.

15 Dated: March 26, 2018
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     SMRH:485758041.2                            ORDER GRANTING EX PARTE APPLICATION FOR LIMITED
                                                                      DISCLOSURE OF PIR TO CA AG
